1    TERRY A. DAKE, LTD.
     20 E. Thomas Rd.
2    Suite 2200
     Phoenix, Arizona 85012-3133
3    Telephone: (602) 710-1005
     tdake@cox.net
4
     Terry A. Dake - 009656
5
     Attorney for Trustee
6
                        IN THE UNITED STATES BANKRUPTCY COURT
7
                             FOR THE DISTRICT OF ARIZONA
8
     In re:                           )     In Chapter 7 Proceedings
9                                     )
     MARK J. SWARTZ;                  )     Case No. 2:18-BK-07157-DPC
10                                    )
                            Debtor.   )
11                                    )

12                          CERTIFICATE OF NO OBJECTION

13              I, TERRY A. DAKE, do hereby certify that as indicated on the

14   Certificate of Mailing on the Motion To Extend Stay And Retain Property

15   And Notice Of Bar Date For Objections (Admin. Dkt. No. 22) filed with

16   this Court that such notice was mailed as set forth therein.

17              I further certify that the objection bar date has passed and

18   that no objections have been received by counsel for the trustee.

19              The trustee requests that the order submitted herewith be

20   entered by the Court.

21              DATED September 15, 2018.

22                                    TERRY A. DAKE, LTD.

23
                                      By /s/ TD009656
24                                      Terry A. Dake
                                        20 E. Thomas Rd.
25                                      Suite 2200
                                        Phoenix, Arizona 85012-3133
26                                      Attorney for Trustee

27

28
